                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                              Plaintiff,            )
                                                    )
       v.                                           )       Criminal Action Number
                                                    )       12-00363-14-CR-SJ-DKG
KIMBERLY JOY BLACK-McCORMICK,                       )
                                                    )
                              Defendant.            )

                           REPORT AND RECOMMENDATION

       Pending before the Court is the MOTION TO SUPPRESS (Doc. #338) filed on May 9, 2014,

by defendant Kimberly Joy Black-McCormick (“Black-McCormick”). On June 26, 2014, the

undersigned held an evidentiary hearing on Black-McCormick’s motion. Black-McCormick was

present and represented by her counsel, Preston L. Cain. The government was represented by

Assistant United States Attorney Bruce A. Rhoades. At the evidentiary hearing, testimony was

given by two witnesses: Officer Tommy Gaddis and Detective Frank Rorabaugh both with the

Kansas City, Missouri Police Department. Additionally, the following exhibits were admitted

into evidence:

                      Gov’t Ex. #1 [Dash camera video]
                      Gov’t Ex. #2 [Video interview]
                      Gov’t Ex. #3 [Video interview]

On the basis of all the evidence adduced at the evidentiary hearing, the undersigned submits the

following:




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                              PROPOSED FINDINGS OF FACT

      1.     On February 20, 2013, Officer Tommy Gaddis of the Kansas City Police
Department was working in the Violent Crimes Enforcement Squad. Tr. at 5, 6.

       2.     On that date, Officer Gaddis and other officers were on a “proactive patrol,” i.e.,
checking various locations known to be the frequent location of criminal activity. Tr. at 7.

        3.       At around 5:30 p.m., Officer Gaddis and Officer Bryan Britten were patrolling in
              th
the area of 35 Street and Agnes. Tr. at 8.

       4.      Officer Gaddis noticed a black Toyota 4Runner parked (but running with the
headlights on) with a man in the vehicle in front of a residence known to officers as a “drug
house.” Tr. at 8, 9.

      5.      According to Officer Gaddis, several prior arrests for methamphetamine had been
made of people leaving the particular residence. Tr. at 9, 28-29.

        6.     Officer Gaddis was also aware that a woman named “Barbara Carnahan” was
associated with the residence and that she had an outstanding felony warrant for drug sales. Tr.
at 9, 30.

       7.      While Officers Gaddis and Britten were observing the 4Runner, they saw a
woman exit the “drug house” residence and get into the passenger seat of the 4Runner and then
the vehicle pulled away. Tr. at 12, 13.

       8.      The officers believed the woman was Barbara Carnahan. Tr. at 12.

       9.       Because of Barbara Carnahan’s outstanding warrant, the officers stopped the
vehicle. Tr. at 13-14, 22-23.

       10.    While the officers were pulling the 4Runner over, they observed the passenger
begin “looking around frantically” and, when the 4Runner came to a stop, the passenger could be
seen bending forward and reaching under the passenger seat. Tr. at 16, 26.

      11.     Officer Gaddis was concerned that the passenger was retrieving or concealing a
weapon. Tr. at 16.

        12.     After the 4Runner stopped, both Officer Gaddis and Officer Britten got out of
their patrol car. Tr. at 14-15.

       13.     The female passenger was removed from the 4Runner. Tr. at 15.



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       14.   The passenger’s identification was checked and it was determined that it was not
Barbara Carnahan but, in fact, was Black-McCormick. Tr. at 15.

      15.     Black-McCormick was frisked to make sure that she was not concealing a
weapon. Tr. at 17-18, 24.

       16.     Black-McCormick was then told that, because of her movements, the officers
were going to inspect the passenger area of the 4Runner. Tr. at 17-18.

       17.     Black-McCormick appeared “very nervous.” Tr. at 18, 24.

       18.    Officer Britten then looked under the passenger seat of the 4Runner and found a
small bag with a zip top. Tr. at 18-19.

       19.     Because the bag was the size that could contain a weapon, Officer Britten opened
the bag and looked inside. Tr. at 18-19.

       20.     Officer Britten saw roughly a half a pound of methamphetamine. Tr. at 19, 27.

       21.     Black-McCormick was then placed under arrest and handcuffed. Tr. at 24.


                           PROPOSED CONCLUSIONS OF LAW

       In her motion to suppress, Black-McCormick raises a single issue, namely that evidence

in this case must be suppressed because law enforcement officers conducted an unconstitutional

warrantless search of her 1 vehicle. Certainly, the Fourth Amendment provides that “the right of




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                Black-McCormick was not the owner of the subject 4Runner. To that end, it is
well-established that “Fourth Amendment rights are personal . . . [and] may not be vicariously
asserted.” Alderman v. United States, 394 U.S. 165, 174, 89 S.Ct. 961, 966-67 (1969). As such,
typically “[a] person who is aggrieved by an illegal search and seizure only through the
introduction of damaging evidence secured by a search of a third person's premises or property
has not had any of his Fourth Amendment rights infringed.” Rakav. Illinois, 439 U.S. 128, 134,
99 S.Ct. 421, 425 (1978). In this case, McCormick submitted an affidavit indicating that the
4Runner had been loaned to her and she “was responsible for the care and custody of the
vehicle.” In any event, in pleadings with the Court, the Government affirmatively represented
that for purposes of the suppression motion, it was electing “to forgo the issue of 4th Amendment
standing.”


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the people to be secure in their persons, houses, 2 papers, and effects, against unreasonable

searches and seizures, shall not be violated. . . .” U.S. CONST. amend. IV. As made clear in the

Fourth Amendment, however, the constitution does not forbid all searches and seizures, but only

unreasonable searches and seizures. Elkins v. United States, 364 U.S. 206, 222, 80 S.Ct. 1437,

1446 (1960). Nonetheless, as the United States Supreme Court pointedly noted over one

hundred years ago:

           No right is held more sacred, or is more carefully guarded, by the common
           law, than the right of every individual to the possession and control of his
           own person, free from all restraint or interference of others, unless by clear
           and unquestionable authority of law.

Union Pacific Railroad Co. v. Botsford, 141 U.S. 250, 251, 11 S.Ct. 1000, 1001 (1891).

       In many search and seizure scenarios, the question of legal authority (as well as

reasonableness) is presumptively satisfied by a judicially-issued warrant. In this case, of course,

the law enforcement officers did not have a warrant to search the 4Runner. However, over the

years, many exceptions to the warrant requirement have been recognized. Nonetheless, the

Supreme Court has cautioned that “searches conducted outside the judicial process, without prior

approval by judge or magistrate, are per se unreasonable under the Fourth Amendment – subject

only to a few specifically established and well-delineated exceptions.” Arizona v. Gant, 556

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               The stop of an individual in an automobile raises many of the same concerns as a
search of an individual’s home.

           Automobile travel is a basic, pervasive, and often necessary mode of
           transportation to and from one's home, workplace, and leisure activities. . . .
           Were the individual subject to unfettered governmental intrusion every time
           he entered an automobile, the security guaranteed by the Fourth Amendment
           would be seriously circumscribed. [P]eople are not shorn of all Fourth
           Amendment protection when they step from their homes onto the public
           sidewalks. Nor are they shorn of those interests when they step from the
           sidewalks into their automobiles.

Delaware v. Prouse, 440 U.S. 648, 662-63, 99 S.Ct. 1391, 1400-01 (1979).
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U.S. 332, 338, 129 S.Ct. 1710, 1716 (2009) (quoting Katz v. United States, 389 U.S. 347, 357,

88 S.Ct. 507, 514 (1967)).

       Without question, a traffic stop constitutes a seizure under the Fourth Amendment.

United States v. Peralez, 526 F.3d 1115, 1119 (8th Cir. 2008). To that end, most warrantless

traffic stops are justified under the Fourth Amendment based on probable cause and “the

decision to stop an automobile is reasonable where the police have probable cause to believe that

a traffic violation has occurred.” Whren v. United States, 517 U.S. 806, 810, 116 S.Ct. 1769,

1772 (1996). In such cases, “[a]ny traffic violation, however minor, provides probable cause for

a traffic stop.” United States v. Bloomfield, 40 F.3d 910, 915 (8th Cir.1994) (en banc). In this

case, though, the government does not assert that an observed traffic violation supports the stop

of the 4Runner. However, a constitutionally valid warrantless traffic stop may be supported by

either probable cause or “reasonable suspicion.” United States v. Houston, 548 F.3d 1151, 1153

(8th Cir. 2008).

       In Terry v. Ohio, 392 U.S. 1, 88 S.Ct. 1868 (1968), the Supreme Court held that a law

enforcement officer can stop and briefly detain a person for investigatory purposes, even without

a warrant, if the officer has a reasonable suspicion – supported by articulable facts – that criminal

activity “may be afoot,” even if the officer lacks probable cause for an arrest. Id. at 30, 88 S.Ct.

at 1884-85. However, the officer conducting such an investigatory stop must be able to

articulate something more than an “inchoate and unparticularized suspicion or ‘hunch.’” Id. at

27, 88 S.Ct. at 1883. Moreover, the mere fact that an officer’s suspicion or hunch, in fact, was

well-founded is not dispositive for a constitutional analysis; rather, the Fourth Amendment

requires “some level of objective justification for making the stop.” INS v. Delgado, 466 U.S.

210, 217, 104 S.Ct. 1758, 1763 (1984).



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       The concept of “reasonable suspicion” is not “readily, or even usefully, reduced to a neat

set of legal rules.” Illinois v. Gates, 462 U.S. 213, 232, 103 S.Ct. 2317, 2329 (1983). In large

part, common sense dictates the analysis of reasonable suspicion.

               The process does not deal with hard certainties, but with
               probabilities. Long before the law of probabilities was articulated
               as such, practical people formulated certain common-sense
               conclusions about human behaviors; jurors as fact-finders are
               permitted to do the same and so are law enforcement officers.

United States v. Cortez, 449 U.S. 411, 418, 101 S.Ct. 690, 695 (1981). Inherent in the concept

of reasonable suspicion is the fact that officers may be mistaken in their beliefs. The keystone in

such cases hinges on reasonableness. Under the law, “a reasonable but mistaken belief may

justify an investigative stop.” United States v. Bailey, 417 F.3d 873, 877 (8th Cir. 2005). See

also United States v. Garcia-Acuna, 175 F.3d 1143, 1147 (9th Cir. 1999)( “A mistaken premise

can furnish grounds for a Terry stop, if the officers do not know that it is mistaken and are

reasonable in acting upon it.”).

       In this case, based on the totality of the circumstances, the Court finds that the officers

were reasonably mistaken when they concluded that the female entering the passenger

compartment of the 4Runner was an individual with an outstanding warrant. As such, the

officers were initially justified in conducting a traffic stop of the 4Runner. Compare United

States v. Neemann 61 F.Supp.2d 944, 950-51 (D.Neb. 1999) (police officer’s belief that

automobile passenger was person wanted for violating terms of pretrial release, while mistaken,

was reasonable, where passenger was seen leaving house where wanted person was believed to

reside and entering automobile, it was dark, passenger wore hat, and passenger bore resemblance

to wanted person when wearing hat, and thus officer’s belief provided reasonable suspicion

required to support investigatory stop of automobile).



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       However, concluding that the initial stop of the 4Runner was justified under the Fourth

Amendment is only the first inquiry. Not every proper Terry traffic stop justifies the warrantless

search of the stopped vehicle. 3 In this case, the government seeks to justify the search of the

passenger compartment as a reasonable “self-protective” vehicle search, arguing that it was

reasonable for the officers to search the interior of the passenger compartment of the 4Runner for

purposes of officer safety. This argument presents a very slippery slope for Fourth Amendment

analysis in that the argument advanced by the government would seemingly undermine the

explicit limitations placed on two other exceptions to the warrant requirement – the “automobile

exception” and the “search incident to an arrest.”

       The so-called “automobile exception” authorizes law enforcement officers “to search a

vehicle without a warrant if they have probable cause to believe the vehicle contains evidence of

criminal activity.” United States v. Davis, 569 F.3d 813, 816 (8th Cir. 2009) (quoting United

States v. Hill, 386 F.3d 855, 858 (8th Cir. 2004)). The Supreme Court has justified this departure

from the traditional warrant requirement because of the lower expectation of privacy in vehicles

and also their unique mobility. California v. Carney, 471 U.S. 386, 390-91, 105 S.Ct. 2066,

2069 (1985). Nonetheless, the Court has repeatedly limited the scope of this potentially broad

exception to the warrant requirement by requiring a showing of probable cause. And in that

regard, probable cause to search an automobile only “exists when there is a fair probability that

contraband or evidence of a crime will be found in a particular place.” United States v. Palega,

556 F.3d 709, 714 (8th Cir. 2009). In this case, the government does not argue (with good



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                 Black-McCormick argues that the officers were required to discontinue the traffic
stop once they learned of the mistaken identity. However, law enforcement officers are entitled
to expand the scope of Terry stop if the officers’ reasonable suspicions are further aroused during
the initial stop. United States v. Banks, 553 F.3d 1101, 1105 (8th Cir.2009). As explained infra,
the Court concludes that such further reasonable suspicion was justified in this case
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reason) that the officers had probable cause to believe the 4Runner contained evidence of

criminal activity based on Black-McCormick’s furtive movements and nervous behavior.

       With regard to a “search incident to an arrest,” prior to 2009, the Eighth Circuit generally

concluded that if officers had probable cause to arrest a driver, the officers had the right to not

only search the driver’s person incident to the arrest, but also to search the passenger

compartment of his vehicle. United States v. Poggemiller, 375 F.3d 686, 687 (8th Cir. 2004)

(“Under [New York v. Belton, 453 U.S. 454, 101 S.Ct. 2860 (1981)], when a police officer makes

a lawful custodial arrest of an automobile’s occupant, the Fourth Amendment allows the officer

to search the vehicle passenger compartment as a contemporaneous incident of arrest.”).

       In 2009, however, the Supreme Court limited this broad exception to the warrant

requirement when it issued its opinion in Arizona v. Gant, supra, and held that officers “may

search a vehicle incident to a recent occupant’s arrest only if the arrestee is within reaching

distance of the passenger compartment at the time of the search or it is reasonable to believe the

vehicle contains evidence of the offense of arrest.” 556 U.S. at 351, 129 S.Ct. at 1723 (emphasis

added). Gant thus permits a warrantless search of a vehicle incident to a driver’s arrest in only

two circumstances. First, arresting officers are permitted to search the passenger compartment of

a vehicle when an arrestee “is within reaching distance of the passenger compartment at the time

of the search.” In this case, there were no arrests and the search of the 4Runner occurred while

Black-McCormick was well away from the vehicle. The second application of Gant permits an

officer to conduct a vehicle search incident to an arrest where “it is reasonable to believe the

vehicle contains evidence of the offense of arrest.” In this case, again, no one had been arrested.

       The fact the Supreme Court has limited the application of these well-known exceptions in

a manner that would not permit their application to these facts is perhaps suggestive that a Fourth



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Amendment violation occurred with the initial search of the passenger compartment of the

4Runner. However, for many years, the courts also have recognized the constitutional propriety

of another exception to the warrant requirement – a “protective search” of vehicles. Specifically,

the “reasonable suspicion” analysis of Terry has been extended to certain vehicle searches.

        In Michigan v. Long, 463 U.S. 1032, 1049, 103 S.Ct. 3469, 3480-81 (1983), the Court

held:

              [P]rotection of police and others can justify protective searches when
              police have a reasonable belief that the suspect poses a danger, that
              roadside encounters between police and suspects are especially
              hazardous, and that danger may arise from the possible presence of
              weapons in the area surrounding a suspect. These principles compel
              our conclusion that the search of the passenger compartment of an
              automobile, limited to those areas in which a weapon may be placed
              or hidden, is permissible if the police officer possesses a reasonable
              belief based on “specific and articulable facts which, taken together
              with the rational inferences from those facts, reasonably warrant” the
              officers in believing that the suspect is dangerous and the suspect may
              gain immediate control of weapons.

Id. Moreover, in applying Long, the Eighth Circuit has found “once reasonable suspicion is

established, a protective search of a vehicle's interior is permissible regardless of whether the

occupants have been removed from the vehicle.” United States v. Stewart, 631 F.3d 453, 457

(8th Cir. 2011). Indeed, in Long, the Supreme Court itself specifically rejected an argument that

a protective vehicle sweep was not reasonable inasmuch as the suspect “was effectively under

[law enforcement] control during the investigative stop and could not get access to any weapons

that might have been located in the automobile.” Long, 463 U.S. at 1051, 103 S.Ct. at 3482.

The Supreme Court found such reasoning “mistaken” inasmuch as:

               During any investigative detention, the suspect is “in the control”
               of the officers in the sense that he may be briefly detained against
               his will. Just as a Terry suspect on the street may, despite being
               under the brief control of a police officer, reach into his clothing
               and retrieve a weapon, so might a Terry suspect in [the suspect’s]

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               position break away from police control and retrieve a weapon
               from his automobile. In addition, if the suspect is not placed under
               arrest, he will be permitted to reenter his automobile, and he will
               then have access to any weapons inside. Or, as here, the suspect
               may be permitted to reenter the vehicle before the Terry
               investigation is over, and again, may have access to weapons.

Id. at 1051-52, 103 S.Ct. at 3482 (emphasis added).

       Reckless application of the Long protective search rule has the potential to effectively

eviscerate the general warrant requirement of the Fourth Amendment when a vehicle stop is

undertaken by law enforcement officers. Unlike the limitations imposed on a valid “automobile

search” and a “search incident to arrest,” the Long protective search rule 4 (like the Terry

analysis) is constrained only by the reasonable suspicion requirement.

       In this case, the Court concludes that the officers had the requisite reasonable suspicion to

conduct a protective search of the passenger compartment of the 4Runner. At the time of the

search, the officers had observed Black-McCormick exit from a known “drug house” in a high

crime area, Black-McCormick made furtive movements when the officers began pulling over the

4Runner by appearing to retrieve/hide something under the passenger seat of the 4Runner, and

McCormick acted unusually nervous during the traffic stop. While these observations would not

constitute probable cause, they do satisfy the threshold of reasonable suspicion. In reaching this

conclusion, the Court was persuaded by the Eighth Circuit’s recent decision in United States v.

Morgan, 729 F.3d 1086 (8th Cir. 2013) [a case not cited by either party].

       In Morgan, the defendant sought to suppress methamphetamine seized from his vehicle.

The record showed that law enforcement officers “were patrolling 24–hour businesses in



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               The Eighth Circuit has noted that in adopting the limitations on a search of a
vehicle incident to arrest, the Supreme Court “left [the holding in Long] untouched.” United
States v. Goodwin–Bey, 584 F.3d 1117, 1120 (8th Cir.2009) (citing Arizona v. Gant, 556 U.S. at
346-47, 129 S.Ct. at 1721).
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response to robberies in the area” when they observed a vehicle with tinted windows parked at

the far corner of a 24-hour grocery store parking lot. The officers saw that the three occupants

of the vehicle were “ducked down” and as the officers approached the vehicle, “the person in the

driver's seat sat up and reached under his seat with both hands.” Id. at 1089. The officers then

removed and handcuffed the occupants from the vehicle and seated them on a curb away from

the car. Id. Due to concerns for officer safety, one of the officers searched the vehicle and when

he reached under the driver's seat of the vehicle, he found a lockbox that was large enough to

conceal a handgun. Id. The lockbox was opened and methamphetamine was found inside.

       In finding that the methamphetamine should not be suppressed, the Morgan court initially

determined that the stop and detention of the vehicle and its occupants was justified:

               The officers had reasonable suspicion to detain [the defendant]
               under Terry. While patrolling a 24–hour grocery store in an area
               where there had been recent robberies of 24–hour businesses, the
               officers observed a vehicle with tinted windows that was parked
               far away from the store entrance. It was late at night, and they
               noticed that the occupants of the vehicle were attempting to
               conceal themselves. As [an officer] approached the vehicle, [the
               defendant] made furtive gestures under his seat with both hands.
               And [the defendant initially] refused to remove his hands from
               under the seat when [an officer] first ordered him to do so. Taken
               together, these factors amount to reasonable suspicion that [the
               defendant] was engaged in criminal activity, and a reasonable
               belief that [the defendant] was dangerous.

Id. at 1090. Having found that the stop and detention were permissible under the Terry, the

Morgan court then addressed the search of the vehicle. Relying on Michigan v. Long, the court

concluded:

               [The defendant’s] furtive gestures under his seat as the officers
               approached the vehicle gave them reason to believe that there was
               a weapon in the vehicle that [the defendant] might access when
               the Terry stop ended and he was permitted to return to
               the vehicle. This objectively reasonable concern for officer safety
               justified [the officer’s] immediate protective sweep under the

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               driver’s seat of the vehicle. Because reasonable suspicion was
               established, the officers’ search of the vehicle’s interior was
               permitted even though the occupants had been removed from
               the vehicle. [The officer] also was authorized to search the
               lockbox he found in the vehicle, which was large enough to
               conceal a weapon, because a valid search under Long extends to
               closed containers found in the vehicle’s passenger compartment.

Id.

        Accordingly, it is

        RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order DENYING the MOTION TO SUPPRESS (Doc. #338) filed on May 9,

2014, by defendant Kimberly Joy Black-McCormick.

        Counsel are reminded that each has 14 days from the date of receipt of a copy of this

report and recommendation to file and serve specific objections to the same. A failure to file and

serve timely objections shall bar attack on appeal of the factual findings in this report which are

accepted or adopted by the district judge except upon the ground of plain error or manifest

injustice.



                                                        /s/ John T. Maughmer              ,
                                                    John T. Maughmer
                                                United States Magistrate Judge




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